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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 20-60192-CIV-SINGHAL/VALLE

   SHANE VILLARINO, et al.,

           Plaintiffs,                                               Class and Collective Action
   v.

   PACESETTER PERSONNEL SERVICE, INC., et al.,

        Defendants.
   _________________________________________/

                                                   ORDER

           THIS CAUSE is before the Court on Plaintiffs’ Motion for Partial Summary

   Judgment (DE [558]). The Court has reviewed the Motion, the opposing and supporting

   memoranda, the parties’ statements of fact and supporting documentation, the applicable

   law, and is otherwise fully advised. For the reasons discussed below, the motion is

   denied.

   I.      INTRODUCTION

           Plaintiffs worked as temporary unskilled laborers through Defendant Pacesetter

   Personnel Service, Inc. 1 Pacesetter provides unskilled temporary labor to clients in

   various industries, including construction, entertainment, and healthcare. Plaintiffs allege

   Pacesetter violated the Fair Labor Standards Act (“FLSA”), the Florida Minimum Wage

   Act (“FMWA”) and the Florida Labor Pool Act (“FLPA”) and seek damages, liquidated

   damages, and attorneys’ fees and costs.




   1
     Defendants operate under several names, but for purposes of this Order will be referred to collectively as
   “Pacesetter.”
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           Plaintiffs allege Pacesetter violated the FLSA and FMWA 2 by (1) allowing clients

   to under report hours worked; (2) failing to pay workers for time spent waiting and traveling

   to and from job sites; and (3) charging workers for transportation and equipment to an

   extent that they were paid less than minimum wage. The Court conditionally certified two

   collective FLSA classes:

                    All hourly-paid “daily ticket” general labor employees who
                    have worked for Pacesetter’s Fort Lauderdale, Florida,
                    location at any time within the three (3) year period from
                    consenting to be included in this collective action.

                    All hourly-paid “daily ticket” general labor employees who
                    worked in excess of forty hours in a workweek in one or more
                    workweeks at Pacesetter’s Fort Lauderdale, Florida, location
                    at any time within the three (3) year period from consenting
                    to be included in this collective action.

   (DE [256]). The Court recently denied Pacesetter’s Motion to Decertify the collective

   classes. (DE [635]).

           Plaintiffs allege Pacesetter violated the FLPA by charging an amount over the

   statutory limit for transportation, improperly charging for use of safety equipment and

   tools, and failing to provide drinking water and restrooms at Pacesetter’s Commercial

   Boulevard facility. The Court denied class certification on the transportation and

   equipment charge issues but granted class certification on the drinking water and

   restroom issue. (DE [601]).

           Plaintiffs seek summary judgment on five issues: (1) whether deductions for

   transportation to and from job sites violates the FLSA and FMWA; (2) whether

   transportation fees charged in excess of $3.00 per day violated the FLPA; (3) whether


   2
    The FMWA explicitly incorporates by reference all definitions from the FLSA, as interpreted by the applicable
   regulations and implemented by the Secretary of Labor. Fla. Stat. § 448.110(3). Except for the required hourly rate,
   see n. 4, infra, duties and liabilities under the FLSA and FMWA are identical.

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   “Daily Ticket Workers” (“DTWs”) were entitled under the FLSA and FMWA to be

   compensated for their travel time; (4) whether Pacesetter violated the FLPA by not

   providing drinking water at the Commercial Boulevard location; and (5) whether

   Pacesetter is liable for mandatory liquidated damages under the FLSA and FMWA.

   II.     LEGAL STANDARDS

           Pursuant to Fed. R. Civ. P. 56(a), summary judgment “is appropriate only if ‘the

   movant shows that there is no genuine [dispute] as to any material fact and the movant

   is entitled to judgment as a matter of law.’” Tolan v. Cotton, 572 U.S. 650, 656–57 (2014)

   (per curiam) (quoting Fed. R. Civ. P. 56(a)); 3 see also Alabama v. North Carolina, 560

   U.S. 330, 344 (2010). “By its very terms, this standard provides that the mere existence

   of some alleged factual dispute between the parties will not defeat an otherwise properly

   supported motion for summary judgment; the requirement is that there be no genuine

   issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247–48 (1986). An

   issue is “genuine” if a reasonable trier of fact, viewing the record evidence, could rationally

   find in favor of the nonmoving party in light of his burden of proof. Harrison v. Culliver,

   746 F.3d 1288, 1298 (11th Cir. 2014). And a fact is “material” if, “under the applicable

   substantive law, it might affect the outcome of the case.” Hickson Corp. v. N. Crossarm

   Co., 357 F.3d 1256, 1259–60 (11th Cir. 2004). “[W]here the material facts are undisputed

   and do not support a reasonable inference in favor of the non-movant, summary judgment

   may properly be granted as a matter of law.” DA Realty Holdings, LLC v. Tenn. Land

   Consultants, LLC, 631 Fed. Appx. 817, 820 (11th Cir. 2015).




   3
    The 2010 Amendment to Rule 56(a) substituted the phrase “genuine dispute” for the former “genuine issue” of
   any material fact.

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          The court must construe the evidence in the light most favorable to the nonmoving

   party and draw all reasonable inferences in that party’s favor. SEC v. Monterosso, 756

   F.3d 1326, 1333 (11th Cir. 2014). However, to prevail on a motion for summary judgment,

   “the nonmoving party must offer more than a mere scintilla of evidence for its position;

   indeed, the nonmoving party must make a showing sufficient to permit the jury to

   reasonably find on its behalf.” Urquilla-Diaz v. Kaplan Univ., 780 F.3d 1039, 1050 (11th

   Cir. 2015). “[T]his, however, does not mean that we are constrained to accept all the

   nonmovant’s factual characterizations and legal arguments.” Beal v. Paramount Pictures

   Corp., 20 F.3d 454, 459 (11th Cir. 1994).

   III.   DISCUSSION

          A.     Factual Background

          Plaintiffs allege the following undisputed facts. Pacesetter’s responses are

   included, where necessary.

                 1.     The nature of the work

          Pacesetter employs unskilled general laborers referred to as DTWs and supplies

   laborers to various industries including construction contractors, municipalities,

   entertainment venues, shopping malls, and commercial and residential complexes. (DE

   [557] ¶¶ 8,9). The work performed varies each day but is always general “unskilled” labor

   such as debris clean up, light demolition, trash removal, moving construction, building,

   landscaping, or other similar tasks. ¶ 21.

          DTWs are given a paper “daily ticket” that gives them the location of the job site,

   the type of work to be done, the name of the client supervisor to report to, the mode of

   transportation to the job site, and what tools and safety equipment are needed for the job.



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   (DE [557] ¶ 19). At the end of the day, the client supervisor records the hours worked

   and signs the daily ticket. ¶ 32. The DTWs return to the labor hall to turn in their daily

   tickets, return the equipment, and collect their pay. DTWs are not required to return to

   Pacesetter’s office at the end of the day; they can turn in their daily ticket and get paid on

   a later date. (DE [577] ¶ 40, 68). DTWs are only paid for the hours spent working on the

   job site; no pay is given for time spent at the labor hall after receiving the daily ticket or

   for travel. (DE [557] ¶¶ 69-73).

                 2.     Transportation

          Each day a DTW reports to Pacesetter’s job hall and signs in on a wall-mounted

   tablet to indicate that he is ready, able, and willing to work. ¶ 41. The screen asks whether

   the DTW has his or her own vehicle to drive or whether he requires transportation. ¶ 42.

   DTWs take Pacesetter-coordinated transportation to and from jobsites, which usually

   consists of either Pacesetter-owned vans or Pacesetter-organized carpools with other

   DTWs. ¶ 27. DTWs who agree to drive a carpool are paid $3.00 ($1.50 each way) for

   each person driven. ¶ 43. DTWs who ride in a carpool or on the Pacesetter van are

   charged $3.00 per day ($1.50 each way). Pacesetter states that DTWs are not required

   to use Pacesetter-arranged transportation and are free to use their own cars without being

   a carpool driver. (DE [577] ¶ 44).

          Pacesetters’ records contain instances where DTWs were charged more than

   $3.00 per day for transportation. (DE [557] ¶ 50). In some cases, the extra charges

   contain a notation attributing the charge to a bus pass. In other cases, there are no

   notations. ¶ 51. Pacesetter states that charges exceeding $3.00 per day were for bus

   passes sold by Pacesetter to DTWs who requested them for personal use. (DE [577] ¶



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   50; [556] ¶ 36). ¶ 53). Pacesetter explained that due to the fast-paced nature of

   dispatching dozens of DTWs at a time, notations for bus pass purchase are not always

   made. (DE [577] ¶¶ 54-55. Pacesetter acknowledges that without a notation it is

   impossible to say why a DTW was charged more than $3.00 for transportation on any

   given day. (DE [557]).

                 3.     Equipment

          Before they leave for the job site, DTWs pick up tools, equipment and/or safety

   gear or clothing to use for the day. ¶ 26. Plaintiffs contend that carrying Pacesetter

   supplied equipment is required. Pacesetter’s testimony is that DTWs are not required to

   bring tools and/or equipment but may choose to use their own. Some DTWs occasionally

   bring their own vests, gloves, or hard hats. (DE [577] ¶¶ 18-26). If a DTW does not bring

   back equipment, he is charged for it. (DE [557]), ¶ 38). DTWs are expected to turn in

   their Pacesetter-issued equipment when they turn in their daily ticket for payment, but if

   equipment was left at the job site, Pacesetter will work with DTWs to provide an additional

   opportunity to prevent incursion of a fee. (DE [577] ¶ 2).

          B.     Analysis

                 1.     Travel charges and minimum wage

          Pacesetter charges DTWs who travel in Pacesetter-arranged transportation $3.00

   per day (or $1.50 each way). This charge is deducted from the DTWs’ daily pay. Plaintiffs

   contend the charges reduce their wages to below minimum wage in violation of the FLSA

   and FMWA and seek summary judgment on that issue. (DE [558]). Pacesetter argues




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   that the transportation charges were permissible even if they brought wages below the

   statutory minimum wage. 4

           Under the FLSA, the cost of “board, lodging, or other facilities” may be added

   toward or deducted from a stipulated wage. 29 U.S.C. § 203(m); 29 C.F.R. § 531.29. The

   FLSA does not define “other facilities,” but the Department of Labor (“DOL”) regulations

   prescribe that “other facilities … must be something like board or lodging.” 29 C.F.R. §

   531.32(a). “One of the DOL regulations states that ‘the cost of furnishing “facilities” which

   are primarily for the benefit or convenience of the employer will not be recognized as

   reasonable and may not therefore be included in computing wages.” Arriaga v. Florida

   Pacific Farms, L.L.C., 305 F.3d 1228, 1236 (11th Cir. 2002) (citing 29 C.F.R. § 531.36(b)).

           In Arriaga, the court held that bus transportation for H-2 visa migrant workers from

   Monterrey, Mexico, to farms in Florida did not constitute “other facilities” and the

   transportation costs could not be counted as wages. 305 F.3d at 1241. The cost of

   transporting migrant workers under the H-2 visa program was primarily for the benefit of

   the employer. In the present case, Plaintiffs argue that Arriaga controls and the

   transportation costs are not “other facilities.” Pacesetter argues that Arriaga is limited by

   its facts to workers under the H-2 program and that, in this case, the transportation

   charges are properly considered commuting costs and, therefore, “other facilities.”




   4
    Plaintiffs argue that Florida’s minimum hourly wage applies to their FLSA claims as well. This is incorrect. Section
   218(a) of the FLSA preserves the rights of states to enact a higher minimum wage or a lower maximum work week
   than those prescribed by the FLSA, but the FLSA does not incorporate state minimum or overtime requirements. See
   Bonich v. NAS Component Maintenance, Inc., 2020 WL 3000187, at *2 (S.D. Fla. Jun. 4, 2020) (“The Fair Labor
   Standards Act only entitles Plaintiff to the federal minimum wage); Moser v. Action Towing Inc. of Tampa, 2017 WL
   10276702, at *3 (M.D. Fla. Feb. 6, 2017) (“Although states are entitled to set a minimum wage rate that is higher
   than the federal minimum wage rate, the FLSA contains no provision requiring the payment of the higher state
   minimum wage.”); Cloer v. Green Mountain Specialties Corp., 2019 WL 13063434, at *7 (M.D. Fla. Oct. 2, 2019);
   Alvarado v. Robo Enters., Inc., 2016 WL 11566330, at *7 (M.D. Fla. Jan. 6, 2016).

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          This Court agrees with Pacesetter that Arriaga is not binding on this case. The

   Arriaga court noted that transportation costs “may or may not be considered ‘other

   facilities’ depending on whether the travel is ‘an incident of and necessary to the

   employment.’” Id. (citing 29 C.F.R. § § 531.32(a) and (c) (emphasis added). The test is

   whether the transportation costs are primarily for the benefit of the employer. Id. at 1242.

   “When evaluating expenses that are directly or indirectly related to employment, the

   examples in § 531.32 show a consistent line being drawn between those costs arising

   from the employment itself and those that would arise in the course of ordinary life.” Id.

          Plaintiffs argue that Pacesetter provided transportation to the workers for its own

   marketing and business purposes and, therefore, the transportation is not an “other

   facility” under the FLSA. They cite Pacesetter’s website, where Pacesetter advertises that

   it has “a fleet of transport vehicles to ensure the timely arrival of workers to onsite

   projects.” (DE [557] Ex. 1). Other solicitation letters state that Pacesetter provides

   “general labor delivered to you” and that it has a “comprehensive employee transport

   system” that supplies “dependable, timely general labor” directly to the client. (DE [559]

   Ex. 11).

          Pacesetter argues this is nothing but general marketing language and that out of

   the 25,000 quote letters and contracts produced in discovery, none include a job-specific

   transportation guarantee or clause. Pacesetter’s regional vice-president, Amarylis

   Bonilla, testified that customers never require that DTWs be dropped off at a job site and

   that if parking is tight at a job site, DTWs can park on the street or in a parking garage

   and Pacesetter will reimburse the parking fee. (DE [557] Ex. 2). She said that DTWs can

   take the van, carpool, Uber, or ride public transportation. Id.



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          Pacesetter argues that transportation is provided for the convenience of the DTWs

   and it is, therefore, similar to a commuting expense that would arise in ordinary life. Upon

   signing up with Pacesetter, each DTW completes a Transportation Agreement (DE [520]

   Ex. 7) wherein he acknowledges that “it is my responsibility to arrive at that

   job/customer/work site by the time designated in my Time Ticket.” The Transportation

   Agreement lists the options the DTW may choose regarding transportation: the DTW’s

   own transportation, public transportation, carpool, or Pacesetter provided transportation.

   Plaintiffs describe the Transportation Agreement as “self-serving”, but Plaintiffs have not

   produced evidence that Pacesetter does not adhere to the Transportation Agreement.

          Plaintiffs cite two DTW depositions (M. Johnson and L. Johnson) as stating that

   Pacesetter dictates the form of transportation the DTWs must take. But that is not the end

   of the inquiry. The issue is whether the evidence supports Plaintiffs’ contention taking

   Pacesetter’s transportation was required for the benefit of Pacesetter. See Plaintiff’s

   Reply Memorandum (DE [590], p. 6). The Court concludes that it does not. Martin

   Johnson stated that he takes the van, a carpool ride, or rides the public bus. (DE [588],

   Ex. 6). According to him, the dispatcher tells the mode of transportation to take. But

   Johnson never stated that he cannot drive his own vehicle. Laura Johnson testified that

   she was never told she couldn’t take a different form of transportation to the work sites.

   (DE [588] Ex. 10, p. 22). The DTW testimony in the record establishes that they did not

   own cars or, alternatively, their testimony was silent on whether they owned a car. See

   Laura Johnson (DE [588] Ex. 10, p. 13) (reported on kiosk that she did not have a car);

   Shane Villarino (DE [588] Ex. 4, p. 13) (never had a vehicle); Jerome Gunn (DE [588] Ex.

   5) (was never told he could not drive his own car); M. Johnson (DE [588] Ex. 6) (took



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   either van, carpool, or bus, but never stated he had a car that he would have driven). To

   the extent a DTW needed to take Pacesetter arranged transportation, Pacesetter

   assigned the mode of transportation. But that assignment does not compel the finding

   that the transportation was primarily for the benefit of Pacesetter. The transportation

   provided by Pacesetter to the DTWs is akin to the daily transportation required to go to

   work; its cost is precisely the type of cost “that would arise in the course of ordinary life.”

   Arriaga, 305 F.3d at 1241-42 (“Clearly, § 531.32 considers expenses related to

   commuting between home and work … to be primarily for the benefit of the employee and

   thus they would constitute ‘other facilities.’”). Plaintiffs are not entitled to summary

   judgment on this issue.

                 2.      Travel and waiting time

          Plaintiffs argue that Pacesetter violated the FLSA and FMWA by not paying them

   for the periods of time spent at the labor hall after they receive their daily ticket and before

   they sign out for the day. It is undisputed that DTWs are only paid for the hours spent

   working at the assigned job sites. Pacesetter argues that the pre- and post- job site time

   is not compensable under the Portal-to-Portal Act.

          The Portal-to-Portal Act exempts certain activities from the compensation

   requirements of the FLSA. These exempt activities are described as follows:

                 (1) walking, riding, or traveling to and from the actual place of
                 performance of the principal activity or activities which such
                 employee is employed to perform, and

                 (2) activities which are preliminary to or postliminary to said principal
                 activity or activities,

                 which occur either prior to the time on any particular workday at
                 which such employee commences, or subsequent to the time on



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                 any particular workday at which he ceases, such principal activity or
                 activities ....

   29 U.S.C. § 254(a).    “[C]ompensability under the FLSA turns on whether an activity is

   ‘integral and indispensable’ to the work an employee is ‘employed to perform.’” Bennett

   v. McDermott Int’l, Inc., 855 Fed. Appx. 932, 933 (5th Cir. 2021) (quoting Integrity Staffing

   Sols., Inc. v. Busk, 574 U.S. 27, 30 (2014)). Whether “a particular set of facts and

   circumstances is compensable under the FLSA is a question of law for the Court to

   decide.” Llorca v. Sheriff, Collier County, 893 F.3d 1319, 1324 (11th Cir. 2018).

          Plaintiffs contend that Pacesetter requires DTWs to ride in a van or carpool or, if

   they have their own cars, to drive other DTWs to job sites. They argue that because use

   of company-provided transportation to and from Pacesetter’s office is mandatory and

   benefits Pacesetter, DTWs are entitled to compensation for the travel time and the time

   spent waiting to depart from Pacesetter’s office. They also argue that mandatory pick up

   and return of safety equipment renders their activities integral and indispensable to the

   work they are required to perform, making the time compensable. Pacesetter disagrees

   and contends that DTWs are free to take whatever mode of transportation suits them and

   they are not engaged in any work activities during the travel or waiting periods. Whether

   Pacesetter requires the mode of transportation and collection of safety equipment is,

   however, not material. Bonilla v. Baker Concrete Const., Inc., 487 F.3d 1340, 1343 (11th

   Cir. 2007) (“even mandatory travel time is exempted from compensation under the Portal-

   to-Portal Act.”). “Under Integrity Staffing, it is not enough to make activity compensable

   under the Fair Labor Standards Act that the employer requires it and it is done for the

   benefit of the employer. Even activities required by the employer and for the employer's

   benefit are “preliminary” or “postliminary” if not integral and indispensable to “the

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   productive work that the employee is employed to perform.” Balestrieri v. Menlo Park Fire

   Prot. Dist., 800 F.3d 1094, 1101 (9th Cir. 2015) (quoting Integrity Staffing, 574 U.S. at

   36).

          Even assuming that DTWs are required to take Pacesetter-arranged transportation

   to and from the job sites each day, this requirement does not meet the integral and

   indispensable standard. Travel time is only compensable “if it is intertwined with the

   employee’s principal activities, ‘such as travel from job site to job site during the workday.’”

   Bennett, 855 Fed. Appx. 936. For example, in Burton v. Hillsborough County, Fla., 181

   Fed. Appx. 829 (11th Cir. 2006), employees whose principal activity was to drive county

   vehicles to inspect public works construction sites were entitled to compensation from the

   time they picked up the county vehicles at the start of their shift to the time they returned

   those vehicles to the lot at the end of the shift. The court rejected the county’s argument

   that driving from the lot to the first appointment was akin to travel to or from work. Driving

   the vehicles was intertwined with the employees’ principal job duties. Id. at 837. By

   contrast, in Bennett, the “great deal of time” spent by welders and pipefitters waiting for

   and traveling on an employer-mandated bus to access the employer’s remote facility was

   not compensable, because the travel time was not an integral part of their principal

   activities. Bennett, 855 Fed. Appx. at 936. As the Bennett court stated, “commuting is

   only compensable when the commute is connected to the employees’ specific work

   obligations.” Id. at 938. In the present case, none of Plaintiffs’ principal job duties require

   travel; their work is performed at job sites to which they must travel. The travel options

   available to Plaintiffs – even if required – do not entitle them to payment under the FLSA

   or FMWA.



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          Likewise, Plaintiffs’ pick up and return of safety equipment at Pacesetter’s office

   does not convert non-compensable travel time to compensable. Nor is the acquisition

   and return of the safety equipment integral and indispensable to Plaintiffs’ principal

   activities. The Supreme Court defined “integral” and “indispensable” in their ordinary

   senses. “The word ‘integral’ means ‘[b]elonging to or making up an integral whole;

   constituent, component; spec[ifically] necessary to the completeness or integrity of the

   whole; forming an intrinsic portion or element, as distinguished from an adjunct or

   appendage.’” Integrity Staffing, 574 U.S. at 33 (quoting 5 Oxford English Dictionary 366

   (1933) (OED)). The word “indispensable” “means a duty ‘[t]hat cannot be dispensed with,

   remitted, set aside, disregarded, or neglected.’” Id. (quoting 5 OED 219).

          Plaintiffs argue that because equipment such as hard hats, gloves, vests, and

   shovels are required for their work and the DTWs are required to bring those items with

   them to the job sites, they must be compensated for their time. The Court does not agree.

   In IBP, Inc. v. Alvarez, 546 U.S. 21 (2005), the Court held that time spent by workers

   waiting to put on protective gear was not integral to their principal activities of cutting and

   bagging meat and, therefore, was not compensable. The time spent walking from the

   locker room to the work floor after donning that protective gear was, however,

   compensable. The Court explained the difference:

                 By contrast, petitioners, supported by the United States as
                 amicus curiae, maintain that the pre-donning waiting time is
                 “integral and indispensable” to the “principal activity” of donning,
                 and is therefore itself a principal activity. However, unlike the
                 donning of certain types of protective gear, which is always
                 essential if the worker is to do his job, the waiting may or may
                 not be necessary in particular situations or for every employee.
                 It is certainly not “integral and indispensable” in the same sense
                 that the donning is. It does, however, always comfortably qualify
                 as a “preliminary” activity.

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   Id. at 40. The Court concluded that waiting to put on protective clothing was “two steps

   removed from the productive activity on the assembly line” and was not, therefore,

   compensable activity. Id. at 42.

          The Court contrasted Steiner v. Mitchell, 350 U.S. 247, 248 (1956), which held that

   workers in a battery plant were entitled to compensation for the time spent changing into

   clothes at the beginning of the shift and showering at the end. There, the workers’

   principal job activities exposed them to “dangerously caustic and toxic materials.” The

   Court distinguished between “changing clothes and showering under normal conditions”

   and the “important health and safety risks associated with the production of batteries” and

   found that under the circumstances, changing into protective clothing and showering were

   integral and indispensable to the principal activities. Id. at 249-52.

          In this case, the generic nature of the equipment provided to the Plaintiffs before

   the start of their workday was not unique to the performance of their duties. They received

   hard hats, safety vests, gloves, brooms, and/or shovels. “These implements are not

   specialized and are used in a breadth of manual labor jobs.” Whitehead v. Sparrow

   Enterprise, Inc., 605 S.E.2d 234, 243 (N.C. App. 2004) (denying FLSA coverage for travel

   time that involved carrying employer-provided safety equipment). “No one would expect

   to pay an office worker for the time it takes to shave and put on a suit and tie. Everyone

   expects to pay an electrical worker for the time it takes to carry conduit from the pile of

   construction materials at the site to the location on the site where the conduit is to be

   installed.” Balestrieri, 800 F.3d at 1098 (firefighter’s collection and loading gear into

   personal cars to report to voluntary overtime position “two steps removed” from principal

   activity of fighting fires and, therefore, not compensable).

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          Plaintiffs argue that Pacesetter required them to use Pacesetter-issued equipment

   and, therefore, they should be compensated for the time necessary to bring and return

   the equipment to and from the job sites. But this argument expands the principal activities

   test beyond what is required by the statute. “If the test could be satisfied merely by the

   fact that an employer required an activity, it would sweep into ‘principal activities' the very

   activities that the Portal–to–Portal Act was designed to address.” Integrity Staffing, 574

   U.S. at 36. Plaintiffs have not established that the travel time to and from job sites is

   compensable under the FLSA.

          Plaintiffs also argue that they should be compensated for all time after receiving

   their daily work ticket because they were required to wait for Pacesetter-

   assigned/coordinated transportation to take them to the job site and, therefore, could not

   use this time effectively for their own purposes. Both Plaintiffs and Defendants analyze

   the issue of pre-travel wait time with cases involving “on-call” assignments. See Birdwell

   v. City of Gadsden, Ala., 970 F.2d 802, 807 (11th Cir. 1992) (whether police officers’ on-

   call duty is compensable depends on whether “the time is spent predominately for the

   employer’s benefit or for the employee’s”).

          “When employees are engaged to wait for the employer's call to duty, this time

   may be compensable under the FLSA.” Id. (citing Skidmore v. Swift & Co., 323 U.S. 134,

   136 (1944)). “Facts may show that the employee was engaged to wait, or they may show

   that he waited to be engaged. His compensation may cover both waiting and task, or only

   performance of the task itself.... The law does not impose an arrangement upon the

   parties. It imposes upon the courts the task of finding what the arrangement was.”

   Skidmore, 323 U.S. at 136–37.



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          “The difference between time ‘engaged to wait’ and ‘waiting to be engaged’ is

   highly fact-specific and is ‘dependent upon all the circumstances of the case.’” Ramos v.

   Fla. Drawbridges, Inc., 2021 WL 4290906, at *4 (S.D. Fla. Sept. 21, 2021) (quoting

   Gregory v. Quality Removal, Inc., 2014 WL 5494448, at *9 (S.D. Fla. Oct. 30, 2014)).

   “When deciding whether on-call time is covered by the FLSA, the court should examine

   ‘the agreements between the particular parties, appraisal of their practical construction of

   the working agreement by conduct, consideration of the nature of the service, and its

   relation to the waiting time, and all of the surrounding circumstances.’” Birdwell, 970 F.2d

   at 808 (quoting Skidmore, 323 U.S. at 137).

          The Court is not convinced that Plaintiffs present an “on-call” scenario such as

   that presented by the off-duty, on-call police officers in Birdwell. Pacesetter matches job

   seekers with employers. DTWs decide when, if, and for what days they wish to seek and

   accept assignments. They receive a daily work ticket that tells them the start time of the

   day’s job. Regardless of how the waiting period between receiving the daily work ticket

   and traveling to the job site is spent, the arrangement between Pacesetter and Plaintiffs

   was for Pacesetter to supply a place to work for the day; to the extent time elapsed

   between the time Plaintiffs receive the daily work ticket and the time the work actually

   began, Plaintiffs were “waiting to be engaged” in the day’s work. The Court, therefore,

   concludes that the time spent waiting at Pacesetter’s offices after receiving the daily work

   tickets or at the end of the day is not compensable under the FLSA. See Whitehead, 605

   S.E.2d at 242 (declining to extend “hours worked” to include temporary workers’ waiting

   time prior to arrival at the job site and at the end of the day). And, as discussed above,

   even assuming use of Pacesetter’s transportation was mandatory, the travel time and



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   time spent waiting to travel are preliminary and postliminary activities that are exempt

   from the FLSA. See Bennett, 855 Fed. Appx. at 936 (workers not entitled to compensation

   for time spent waiting for and traveling on employer mandated transportation when travel

   was not integral and indispensable to their principal job activities).     Plaintiffs are,

   therefore, not entitled to summary judgment on their claim that travel time is statutorily

   compensable work.

                 3.    FLSA and FMWA liquidated damages

         Where an employer violates the minimum wage and overtime provisions of the

   FLSA and FMWA, the employee is entitled to liquidated damages equal to the amount of

   unpaid compensation, unless the employer establishes that it acted in good faith and had

   reasonable grounds to believe that its actions did not violate the FLSA. 29 U.S.C.

   § 216(b); 29 U.S.C. § 260. Plaintiffs argue that Pacesetter cannot show that it acted in

   good faith. But, as discussed above, Plaintiffs have not established that Pacesetter

   violated the FLSA or FMWA. Accordingly, Plaintiffs are not entitled to summary judgment

   on the issue of liquidated damages.

                4.     Transportation charges in excess of $3.00 per day (FLPA)

         The FLPA prohibits labor pools from charging workers more than $3.00 per day

   for transportation. Fla. Stat. § 448.24(1)(b). The FLPA also requires that a labor pool

   employer shall “[a]t the time of each payment of wages, furnish each worker a written

   itemized statement showing in detail each deduction made from such wages. A labor pool

   may deliver this statement electronically upon written request of the day laborer.” Fla.

   Stat. Ann. § 448.24(2)(g). Any worker aggrieved by a violation of the FLPA is entitled to




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   recover “actual and consequential damages, or $1,000, whichever is greater, for each

   violation of this part, and costs.” Fla. Stat. § 448.25.

          Pacesetter’s written records show that on numerous instances DTWs were

   charged more than $3.00 per day for transportation. Pacesetter has explained that it sold

   reduced-price bus passes to DTWs for their personal use. (DE [521] Ex. 4, p. 30). The

   bus passes cost $5.00 each and Pacesetter sold them to workers for $3.00. (DE 536] Ex.

   9, ¶ 6). Some of the entries contain a notation that the excess charges were for the

   purchase of bus passes, but the majority contain no explanation for the excess charges.

   Plaintiffs contend that every bus pass purchase was dutifully recorded and, therefore, if

   a notation was not made next to a transportation charge, it was an excess charge in

   violation of the FLPA. (DE [557] ¶¶ 54-55). Pacesetter’s testimony is that due to the fast-

   paced nature of dispatching dozens of DTWs at the same time, the “comments” section

   is not always filled out. (DE [577] ¶¶ 54-55).

          Pacesetter has raised enough evidence to establish a genuine dispute as to

   whether the charges were for bus passes. Construing the evidence in the light most

   favorable to Pacesetter as the non-moving party and drawing all reasonable inferences

   in that party’s favor, the Court concludes that the jury must determine whether the

   transportation charges in excess of $3.00 per day were for the purchase of bus passes

   or were violations of the FLPA.

                 5.      Lack Drinking Water at Commercial Boulevard Location

          The FLPA requires that a labor pool that operates a labor hall must provide facilities

   for a worker waiting to a job assignment that include restroom facilities, drinking water,

   and sufficient seating. Fla. Stat. § 448.24(5). Plaintiffs seek summary judgment on



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   Pacesetter’s failure to provide drinking water. Numerous Plaintiffs have testified that there

   was no water available at the Commercial Boulevard location. (DE [557] ¶ 85).

   Pacesetter’s dispatcher Dominick Charles testified that there was no drinking fountain at

   the Commercial Boulevard site and that daily ticket workers were not given bottled water.

   (DE [577], Ex. 2, p. 9). Pacesetter has provided testimony from DTWs and Pacesetter

   staff that bottled water was provided to workers at the Commercial Boulevard location.

   (DE [556] ¶ 48). This presents a genuine dispute of fact and summary judgment on the

   issue is not appropriate.

   IV.    CONCLUSION

          For the reasons discussed above, the Court concludes that Plaintiffs have failed

   to establish they are entitled to relief under the FLSA or FMWA. In addition, the Court

   finds there is a genuine dispute of material fact as to whether Pacesetter has violated the

   FLPA’s requirements regarding transportation costs and drinking water. Accordingly, it is

   hereby

          ORDERED AND ADJUDGED that Plaintiffs’ Motion for Partial Summary Judgment

   (DE [558]) is DENIED.

          DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 1st day of

   December 2022.




   Copies furnished counsel via CM/ECF



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